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WVND (January 2014)
Notice of Attorney Appearance and Counsel Contact Form




                                    UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Northern District of West Virginia


U.S.A. ex rel. Joseph Seikel and Terence Seikel
___________________________________________
                      Plaintiff

                        V.                                                      Case No. 1:23-cv-01
David B. Alvarez et al.
___________________________________________
                      Defendant

                  NOTICE OF ATTORNEY APPEARANCE AND COUNSEL CONTACT FORM



To:       The Clerk of Court and all parties of record:

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Defendants David B. Alvarez; Applied Construction Solutions, Inc.; and Energy Transportation LLC                       .



      June 9, 2023
Date: ____________________                                                 s/ Marc R. Weintraub
                                                                           ________________________________________
                                                                                        Attorney’s signature

                                                                           Marc R. Weintraub, WVSB # 8055
                                                                           ________________________________________
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